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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
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                                                   Case No. CV 2:21-00134-AB (ASx)
12      MIGUEL SOTO
13
                        Plaintiff,
                                                   ORDER DISMISSING CIVIL ACTION
14
        v.
15
        NASHAT N. ATEIA
16
                        Defendant.
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             THE COURT having been advised by counsel that the above-entitled action has
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       been settled;
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             IT IS THEREFORE ORDERED that this action is hereby dismissed without
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       costs and without prejudice to the right, upon good cause shown within 30 days, to re-
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       open the action if settlement is not consummated. This Court retains full jurisdiction
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       over this action and this Order shall not prejudice any party to this action.
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26     Dated: April 27, 2021            _______________________________________
                                        ANDRÉ BIROTTE JR.
27                                      UNITED STATES DISTRICT JUDGE
28
                                                  1.
